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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                        Chapter 11

 HANS FUTTERMAN,                                               Case No. 17-12899 (MEW)

                                     Debtor.
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                           DECLARATION OF HANS FUTTERMAN
                       PURSUANT TO LOCAL BANKRUPTCY RULE 1007-2


          HANS FUTTERMAN, hereby declares, under penalty of perjury, as follows:

          1.       I am the debtor and debtor-in–possession herein (the “Debtor”), and are fully familiar

 with the facts set forth herein. This declaration is submitted pursuant to Rule 1007-2 of the

 Bankruptcy Rules of this Court (“LBR”). I am self-employed and am a real estate developer.

          2.       On October 17, 2017, I filed a voluntary Chapter 11 Petition pursuant to Chapter 11

 of the Bankruptcy Reform Act of 1978, as amended by the Bankruptcy Abuse Prevention and

 Consumer Protection Act of 2005.

          3.       My principal assets are: (1) 100% of the interests in JenCo 121 LLC, which owns the

 real property known as and located at 311 West 121 Street, New York, New York; (2) 100% of the

 interests in RGS Holdings LLC, which owns 80% of the interests of SoHa Terrace LLC, which owns

 99.5% of the interests of 2280 FDB LLC, which owns seven (7) unsold condominium units at the

 real property known and located at 2280 Frederick Douglass Blvd, New York, New York; (3) one

 half undivided interest in condominium apartment located at 265 West 122nd Street, Unit D, New

 York, New York 10027, owned jointly with Ellen Barnaby; (4) one half undivided interest in

 condominium apartment located at 254 West 123 Street, Garden, New York, New York, owned


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 jointly with Ellen Barnaby; (5) 1 Burlingham Road, Pine Bush, New York, owned jointly with Ellen

 Barnaby; and (6) 317 Shawangunk Lake Road, Pine Bush, New York, owned jointly with Ellen

 Barnaby. See also Schedules A and B filed with the Bankruptcy Court for a list of all of my assets.

         5.     My desire to sell certain of my assets to pay my creditors under the protection of

 Chapter 11 of the Bankruptcy Code, and enable me to resolve my recent financial setbacks is the

 reason for commencing this Chapter 11 case.

        6.      All of my personal property is located at 265 West 122nd Street, Unit D, New York,

 New York 10027.

        7.      With respect to LBR 1007-2(a)(4), no committee was organized prior to the order for

 relief in the chapter 11 case

        8.      With respect to LBR 1007-2(a)(4), a list containing the names and addresses of what

 we believe to be the twenty largest unsecured creditors, excluding insiders, have been filed with my

 Chapter 11 Petition.

        9.      With respect to LBR 1007-2(a)(5), the holders of the secured claims are set forth in

 Schedule D to the Chapter 11 Petition.

        10.     With respect to LBR 1007-2(a)(6), an approximate summary of my assets and

 liabilities are set forth in Schedules A, B, D, E and F to the Chapter 11 Petition.

        11.      LBR1007-2(a)(7) is not applicable.

        12.     With respect to LBR 1007-2(a)(8), to the best of our knowledge, there is no property

 of mine in the possession or custody of any public officer, receiver, trustee, pledgee, assignee of

 rents, liquidator, secured creditor, or agent of any such person.

        13.     With respect to LBR 1007-2(a)(9), I do not lease any premises.


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        14.     With respect to LBR 1007-2(a)(10), I do not have any assets outside the territorial

 limits of the United States.

        15.      With respect to LBR 1007-2(a)(11), the following is a list of each action that is

 pending against me: (1) USHA SOHA Terrace, LLC v. RGS Holdings, LLC, Hans Futterman,

 SOHA Terrace, LLC and 2280 FDB, LLC (Index No. 654131/2012) pending in the Supreme Court

 of the State of New York, New York County, New York; (2) USHA SOHA Terrace, LLC v. RGS

 Holdings, LLC, Hans Futterman, SOHA Terrace, LLC (Index No. 651699/2014) pending in the

 Supreme Court of the State of New York, New York County, New York; (3) RWNIH-DL 122nd

 Street 1 LLC v. Hans Futterman (Index No. 656612/2016) pending in the Supreme Court of the State

 of New York, New York County, New York; (4) Jacques Guillet v. Hans Futterman (Index No.

 652057/2017) pending in the Supreme Court of the State of New York, New York County, New

 York; and (5) 2280 FDB, LLC and SOHA Terrace, LLC v. RGS Holdings, LLC, SOHA Terrace

 Manager Corp., SOHA Manager Owner, LLC, and Hans Futterman (Index No. 654754/2017)

 pending in the Supreme Court of the State of New York, New York County, New York.

        16.     LBR1007-2(a)(12) is not applicable.


 Dated: New York, New York
        November 13, 2017
                                                       _/S/ Hans Futterman_________
                                                       HANS FUTTERMAN




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